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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                        Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,

                Defendants.




                                  DECLARATION OF LIZA


       I, Liza, upon my personal knowledge, hereby submit this declaration pursuant to 28 U.S.C.

§ 1746 and declare as follows:

   1. I am more than 18 years of age and competent to testify, upon personal knowledge, to the

       facts set forth herein.

   2. My husband, Igor, and I met in Russia and later moved to the United States. I arrived in

       the United States first, in 2023, and Igor arrived in 2024.

   3. I hold a valid student visa, and I am currently pursuing my master’s degree.

   4. Igor and I are unable to return to Russia because we fear we will be persecuted. Igor has a

       pending asylum claim.

   5. Our child, L.B., was born after February 19, 2025, in Texas. L.B. is our first child but we

       hope to have more children in the future and grow our family.
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6. When I heard that President Trump signed an Executive Order that would have denied L.B.

   U.S. citizenship, my world fell apart. I was about five months pregnant at the time. I was

   constantly worried that, without U.S. citizenship, L.B. would be stateless, as we cannot

   safely apply for Russian citizenship for L.B. This constant anxiety took a toll on my mental

   health, and Igor’s as well.

7. Even though L.B. was already born and is considered a U.S. citizen under the preliminary

   injunction, I still worry that the government will try to deny their citizenship if the

   Executive Order goes into effect later and could try to detain or deport L.B.

8. The Executive Order basically says that my child is “a nobody.” If the injunction was not

   in place, L.B. would be a stateless child without any immigration status in the United States

   and would have even less status than I have. That possibility frightens me and leaves me

   with so many scary questions. What will happen to L.B. if they ever leave the United

   States? Would they need a visa to stay here in the United States with Igor and me? Could

   they be deported? If so, where would they go? Could they be deported to Russia, a country

   they’ve never known and where they would not be a citizen?

9. I am very worried about the Executive Order. Without U.S. citizenship, I worry that L.B.

   will be denied access to healthcare and cutting-edge educational opportunities that do not

   exist elsewhere. Most importantly, though, I want L.B. to be a U.S. citizen because

   citizenship will ensure L.B.’s safety—not just in the United States but anywhere in the

   world. U.S. citizenship provides a sense of safety that does not exist in many other

   countries.

10. I do not want my full name to be part of this lawsuit. I want to ensure that my child’s

   identity remains confidential. L.B. is still just a baby and it is my duty as L.B.’s mother to


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   protect L.B. and to maintain L.B.’s privacy. I fear that the U.S. government may target

   L.B. directly if our identities are known. The U.S. government could try to take away

   L.B.’s access to health care or benefits, separate us from L.B., or even try to deport L.B. to

   Russia or some other country.

11. I am also afraid that if my identity and involvement with this lawsuit were made public,

   private individuals may try to track me down and do harm to me, L.B., or my family. I am

   particularly worried about L.B.’s safety and the risk that L.B. could face harassment,

   discrimination, or even physical violence.

12. I am also afraid that if my full name were known, my family and I would face retaliation

   by the U.S. government. The U.S. government could revoke my student visa as punishment

   for speaking out, as it has recently done to so many international students on the same visa

   I have. I also fear that the U.S. government could deny Igor’s asylum application or any

   future immigration applications we may submit. The U.S. government has tremendous

   power over our ability to stay in this country, and I worry that it will use my participation

   in this lawsuit against us.

13. I understand that I am being asked to serve as a class representative as a

   “next friend” of L.B. on behalf of other people in a similar situation to my child. I am

   willing to serve as class representative because, ever since I was child myself, I have had

   a strong sense of justice. I don’t like seeing anyone deprived of their inherent rights, so I

   have always strived to fight for those who can’t defend themselves. Babies are the most

   defenseless amongst us and the Executive Order threatens to take away their most basic

   right of citizenship. I feel that it is my role to stand up not just for my baby, but for all

   babies that can’t fight for themselves.


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